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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                TALLAHASSEE DIVISION



DAVID MARK BROWN,

       Plaintiff,

vs.                                                      CASE NO. 4:05CV108-SPM/AK

TALLAHASSEE POLICE DEPT.,
et al,

       Defendants.

                                     /


                           REPORT AND RECOMMENDATION

       Plaintiff, a non-prisoner proceeding pro se and in forma pauperis, brings this

cause of action pursuant to 42 U.S.C. §1983 alleging violation of his civil rights resulting

from an incident involving several unnamed officers of the Tallahassee Police

Department. (Doc. 1). Because the complaint is frivolous and states no constitutional

claims, it is herein recommended that it be dismissed.

I.     Standard of Review

       A court may dismiss a case proceeding in forma pauperis if the complaint fails to

state a claim upon which relief may be granted. 28 U.S.C. § 1915A. Pro se complaints

are to be held to a less stringent standard than those drafted by an attorney. Wright v.
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Newsome, 795 F.2d 964, 967 (11th Cir. 1986), citing Haines v. Kerner, 404 U.S. 519,

520-1, 92 S. Ct. 594, 596, 30 L. Ed. 2d 652 (1972). However, a plaintiff is still required

to "set forth factual allegations, either direct or inferential, respecting each material

element necessary to sustain recovery under some actionable legal theory." Worst v.

Hart, 1995 WL 431357, *2 (N.D. Fla. 1995). It cannot be assumed that a Plaintiff will

prove facts which have not been alleged. Quality Foods de Centro America, 711 F.2d

at 995, citing Associated General Contractors of California, Inc. v. California State

Council of Carpenters, 459 U.S. 519, 103 S. Ct. 897, 902, 74 L. Ed. 2d 723 (1983).

Hence, even though the pleading standard for a pro se complaint is quite liberal, “bald

assertions and conclusions of law will not suffice.” Leeds v. Meltz, 85 F.3d 51, 53 (2d

Cir. 1996). Additionally, the court's duty to construe a plaintiff's complaint liberally is not

the equivalent of a duty to rewrite it. Peterson v. Atlanta Housing Auth., 998 F.2d 904,

912 (11th Cir. 1993).

II.    Allegations of the complaint

       Plaintiff claims that he was removing a television stand from a junk pile at 3:00

a.m. when four police officers approached him and asked for his identification. Plaintiff

was also frisked or patted down during this exchange, which he said was humiliating.

His primary complaint is about the interaction between two black male officers and two

white female officers, which he describes as flirting and standing too close and the

males trying to impress the females. He does not assert that he was beaten or

arrested. Plaintiff also complains that the police did not look underneath the t.v. stand

or they would have seen that it belonged to a rental center.



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       His statement of claims are for “violation of civil rights to impress white female

officers..., religious discrimination, dereliction of duty for failure to check property

identity..., and violation of reasonable accommodations.”

       None of these “claims” raise constitutional issues and there is nothing in the facts

asserted by Plaintiff that would support any type of claim.

       In light of the foregoing, it is respectfully RECOMMENDED that Plaintiff’s

complaint, doc. 1, be DISMISSED as frivolous and for failure to state a claim upon

which relief may be granted pursuant to 28 U.S.C. § 1915A(b).

       IN CHAMBERS at Gainesville, Florida, this 16th             day of May, 2005.




                                            s/ A. KORNBLUM
                                            ALLAN KORNBLUM
                                            UNITED STATES MAGISTRATE JUDGE




                                  NOTICE TO THE PARTIES

       A party may file specific, written objections to the proposed findings and
recommendations within 15 days after being served with a copy of this report and
recommendation. A party may respond to another party’s objections within 10 days after
being served with a copy thereof. Failure to file specific objections limits the scope of
review of proposed factual findings and recommendations.




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